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                                     EXHIBIT LIST

Ex.   Description
A     M. Taylor Extradition Request excerpts (Dkt 57-2)
B     P. Taylor Extradition Request excerpts (Dkt 57-3)
C     Declaration of William Cleary (Dkt 57-4)
D     Supplemental Declaration of William Cleary (Dkt 57-5)
E     Second Supplemental Declaration of William Cleary (Dkt 57-6)
F     Remarks of Minister of Justice Mori to Legal Committee (3/6/2020) (Dkt 57-7)
G     Jiji Press, Start of Debate on Escape Prevention Measures (6/15/2020) (Dkt 57-8)
H     Jomo News, First Meeting to Prevent Escape During Legal Bail (6/15/2020) (Dkt 57-9)
I     Memo and Petition from the Kelly Family (Dkt 57-10)
J     September 4, 2020 Extradition Certification and Order of Commitment
K     September 14, 2020 Certification of Michael L. Taylor and Committal for Extradition
L     September 14, 2020 Certification of Michael L. Taylor and Committal for Extradition
M     September 8, 2020 Taylor Submission to Hon. Mike Pompeo (with exhibits thereto)
N     Robert Burnson, Bloomberg Law, Ghosn Alleged Escape Accomplices Deny Committing
      a Crime (June 9, 2020), available at https://bit.ly/30POwWr
O     Kaku Imamura, et al. (signed by 1,010 professionals), Human Rights Watch, Call to
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P     Yuri Kageyama, AP News, Fugitive Ghosn brings global attention to Japanese justice
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Q     Rupert Wingfield-Hayes, BBC News, Tokyo, Carlos Ghosn and Japan's 'hostage justice'
      system (Dec. 31, 2019), available at https://bbc.in/33VyQCT
R     Japan Ministry of Justice, Frequently Asked Questions on the Japanese Criminal Justice
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S     United Nations Committee Against Torture, Concluding Observations on the Second
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      2013), available at: https://bit.ly/3iHbEMP
T     Amnesty International, Amnesty International Report 2014/15 – Japan (Feb. 25, 2015),
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U     Simon Denyer, Liz Sly and Asser Khattab, The Washington Post, Carlos Ghosn
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V     Yuri Kageyama, Associated Press, Ghosn faced 7 hours a day of questioning in Japan:
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W     Kiyoshi Takenaka & Mari Saito, Reuters, Austere Japan detention quarters contrast with
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Y    Sen. Roger Wicker, Sen. Lamar Alexander & Sen. Marsha Blackburn, Greg Kelly: U.S.
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Z    Chester Dawson, The Japan Times, Ex-Nissan exec Greg Kelly fears odds of fair trial
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AA   Kelly Petition to U.S. Dep’t of State, available at https://bit.ly/2XX0ID7
BB   The Detroit News, Emails: Ghosn takedown motivated by effort to stop Nissan, Renault
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